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10
                                      UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                              OAKLANDDIVISION
13
     UNITED STATES OF AMERICA,         ) Case No. 4:18-cv-04788-PJH
14                                     )
          Plaintiff,                   )
15                                     ) AMENDED COMPLAINT
16     v.                              )
                                       )
17   WALTER JAMES KUBON, AKA WALTER )
     JAMES KUBON JR., VALLY KUBON,     )
18   STATE OF CALIFORNIA FRANCHISE TAX )
     BOARD,                            )
19
                                       )
20        Defendants.                  )
                                       )
21

22          Now comes the United States of America, by and through its undersigned counsel, and amends

23 its complaint to identify defendant Walter James Kubon as defendant Walter James Kubon, aka Walter

24 James Kubon Jr.

25                                        JURISDICTION AND VENUE

26           1.     This is a civil action brought by the United States to reduce to judgment outstanding

27 federal tax assessments against defendants, Walter James Kubon, aka Walter James Kubon Jr., and

28 Vally Kubon, for tax years 2002, 2003 and 2004, and to foreclose federal tax liens securing those tax

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 1 assessments upon real property located at 560 Hobie Lane, San Jose, California 95127 (hereinafter “the

 2 subject property”).

 3           2.       This action is commenced pursuant to 26 U.S.C. §§ 7401, 7402 and 7403(a) at the

 4 direction of the Attorney General of the United States, with the authorization and sanction and at the

 5 request of the Division Counsel of the Internal Revenue Service, a delegate of the Secretary of the

 6 Treasury.

 7           3.       Jurisdiction over this action is conferred upon this Court by 28 U.S.C. §§ 1340 and 1345,

 8 and under 26 U.S.C. §§ 7402(a) and 7403.

 9           4.       Pursuant to 28 U.S.C. §§ 1391 and 1396, venue is proper in the Northern District of

10 California because the defendants/taxpayers, Walter James Kubon, aka Walter James Kubon Jr., and

11 Vally Kubon, reside in this judicial district, the tax liabilities arose within this judicial district, and the

12 real property is situated within this judicial district.

13                                     IDENTIFICATION OF DEFENDANTS

14           5.       Defendant Walter James Kubon, aka Walter James Kubon Jr., currently resides at 560

15 Hobie Lane, San Jose, California 95127.

16           6.       Defendant Vally Kubon currently resides at 560 Hobie Lane, San Jose, California 95127.

17           7.       Defendant State of California Franchise Tax Board is made a party pursuant to 26 U.S.C.

18 § 7403(b) in that it may claim an interest in the real property described in paragraph 12.

19                     IDENTIFICATION OF PROPERTY SOUGHT TO BE FORECLOSED

20           8.       The real property which is the subject of this suit is located at 560 Hobie Lane, San Jose,

21 California 95127, and is described in the office of the County Recorder of Santa Clara County,

22 California, as follows:

23           LOT 13, AS SHOWN ON THAT CERTAIN MAP ENTITLED, “TRACT NO. 5325 PRINCESS
             HIGHLANDS UNITED NO. 3” WHICH MAP WAS FILED FOR RECORD IN THE OFFICE
24           OF THE RECORDER OF THE COUNTY OF SANTA CLARA, STATE OF CALIFORNIA,
             ON JUNE 4, 1973 IN BOOK 324 OF MAPS, AT PAGES 17 AND 18.
25

26           EXCEPTING THEREFROM THE UNDERGROUND WATER RIGHTS, WITH NO RIGHT
             OF SURFACE ENTRY AS GRANTED BY LEWIS T. TOUCHSTONE TO SAN JOSE
27           WATER WORKS, A CALIFORNIA CORPORATION BY INSTRUMENT DATED JULY 9,
             1973, RECORDED JULY 11, 1973, IN BOOK 0464, PAGE 195, SERIES NO. 4559297,
28           OFFICIAL RECORDS, SANTA CLARA COUNTY, CALIFORNIA.
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 1          560 HOBIE LN.
            SAN JOSE, CA 95127
 2

 3                                                  COUNT ONE

 4                                 REDUCE ASSESSMENTS TO JUDGMENT

 5          9.       The United States realleges the allegations in paragraphs 1 through 8 above, as if fully set

 6 forth herein.

 7          10.      A delegate of the Secretary of the Treasury made separate assessments against defendants

 8 James Kubon, aka Walter James Kubon Jr., and Vally Kubon, individually, for their 2002 federal

 9 income tax liability (Form 1040), along with penalties and interest, and against them jointly for their
10 joint 2003 and 2004 Form 1040 liability, along with penalties, and interest, as set forth below:

11      KIND OF        TAX    ASSESSMENT             AMOUNT OF TAX                 UNPAID BALANCE OF
        TAX            PERIOD DATES                  ASSESSMENTS                   TAXES PENALTIES
12                                                                                 AND INTEREST AS OF
                                                                                   December 1, 2017
13      1040 –         2002       08/18/2008         $140,478 – tax                $ 390,110.99
14      James                                        $31,607.55 - penalty
        Kubon, aka                                   $4,694.38 – penalty
15      Walter                                       $35,119.50 – penalty
        James                                        $67,801.96 – interest
16      Kubon Jr.
        1040-          2002       08/18/2008         $135,525 – tax                $ 367,668.60
17
        Valley                                       $30,493.13 - penalty
18      Kubon                                        $4,528.85 – penalty
                                                     $33,881.25– penalty
19                                                   $65,411.41– interest
        1040           2003       08/10/2007         $41,519.17– tax               $   96,910.60
20                                                   $8,303.83 – penalty
                                                     $5,652.36 – interest
21
                                                     $10,379.80– penalty
22                                                   $20,767.79– interest
                                                     $2,682.41 – interest
23      1040           2004       06/09/2008         $32,196 – tax                 $    80,586.28
                                                     $1,609.80 - penalty
24                                                   $6,439.20 – penalty
25                                                   $10,364.73- interest
                                                     $11,377.76–interest
26                                                   $8,049.00 – penalty
                                                     $2,127.46 – interest
27                                                   $2,234.86 – interest
28

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 1          11.     Despite timely notice and demand for payment of the taxes, penalties, and interest

 2 described in paragraph 10 above, defendants, Walter James Kubon, aka Walter James Kubon Jr., and

 3 Vally Kubon, have neglected, failed, or refused to pay the taxes, penalties and interest described in

 4 paragraph 10 above, and there remains due and owing on said assessments, as of December 1, 2017, the

 5 following sums:

 6          (a) the sum of $390,110.99 due against Walter James Kubon, aka Walter James Kubon Jr.,

 7 individually, plus accrued interest and penalties and other statutory additions as provided by law, minus

 8 any credits, for his 2002 Form 1040 liability;

 9          (b) the sum of $367,668.60 due against Vally Kubon, individually, plus accrued interest and

10 penalties and other statutory additions as provided by law, minus any credits, for her 2002 Form 1040

11 liability, plus accrued interest and penalties and other statutory additions as provided by law, minus any

12 credits; and

13           (c) the sum of $177,496.88 due against Walter James Kubon, aka Walter James Kubon Jr., and

14 Vally Kubon jointly, plus accrued interest and penalties and other statutory additions as provided by

15 law, minus any credits, for their 2003 and 2004 joint Form 1040 liability.

16                                                  COUNT TWO

17                                   FORECLOSE FEDERAL TAX LIENS

18          12.     The United States re-alleges the allegations in paragraphs 1 through 11 above, as if fully

19 set forth herein.

20          13.     Pursuant to 26 U.S.C. §§ 6321 and 6322, liens arose in favor of the Plaintiff, United

21 States of America, upon all property and rights to property, whether real or personal, belonging to

22 defendants, Walter James Kubon, aka Walter James Kubon Jr., and Vally Kubon, as of the dates of the

23 assessments described in paragraph 10 above, and to all property acquired thereafter.

24          14.     On September 17, 2008, a delegate of the Secretary of the Treasury filed a Notice of

25 Federal Tax Lien against defendant, Walter James Kubon, aka Walter James Kubon Jr., with the County

26 Recorder of Santa Clara County, California, with, respect to his unpaid 2002 Form 1040 federal income

27 tax liability.

28 //

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 1          15.     On July 29, 2009, a delegate of the Secretary of the Treasury filed a Notice of Federal

 2 Tax Lien against defendant Vally Kubon with the County Recorder of Santa Clara County, California,

 3 with, respect to her unpaid 2002 Form 1040 federal income tax liability.

 4          16.     On October 3, 2007, a delegate of the Secretary of the Treasury filed a Notice of Federal

 5 Tax Lien against defendants Walter James Kubon, aka Walter James Kubon Jr., and Vally Kubon with

 6 the County Recorder of Santa Clara County, California, with, respect to their unpaid joint Form 1040

 7 liability for 2003. That Notice of Federal Tax Lien was re-filed on January 20, 2017.

 8          17.     On October 3, 2008, a delegate of the Secretary of the Treasury filed a Notice of Federal

 9 Tax Lien against defendants Walter James Kubon, aka Walter James Kubon Jr., and Vally Kubon with
10 the County Recorder of Shasta County, California, with, respect to their unpaid joint Form 1040 liability

11 for 2003. That Notice of Federal Tax Lien was re-filed on February 10, 2017.

12          18.     On July 29, 2009, a delegate of the Secretary of the Treasury filed a Notice of Federal

13 Tax Lien against defendants Walter James Kubon, aka Walter James Kubon Jr., and Vally Kubon with

14 the County Recorder of Santa Clara County, California, with, respect to their unpaid joint Form 1040

15 liability for 2004.

16          19.     The subject property has, at all pertinent times, been property belonging to defendants

17 Walter James Kubon, aka Walter James Kubon Jr., and Vally Kubon for purposes of the tax lien

18 provisions of the Internal Revenue Code. Accordingly, the federal tax liens at issue attached to the

19 subject property, and all property whether real or personal belonging to Walter James Kubon, aka

20 Walter James Kubon Jr., and Vally Kubon when the liens arose, and these tax liens have continued to

21 the present, without interruption, to attach to such property.

22          WHEREFORE, upon its allegations, Plaintiff, United States of America, prays that:

23          A.      That this Court determine and adjudge that defendants Walter James Kubon, aka Walter

24 James Kubon Jr., and Vally Kubon are personally liable to the United States of America for the sum of

25 $177,496.88, plus interest, and statutory additions, as provided by law, that have accrued, and continue

26 to accrue, from December 1, 2017, until fully paid; that a judgment in that amount, plus interest and

27 statutory additions, be entered against defendants Walter James Kubon, aka Walter James Kubon Jr.,

28 and Vally Kubon in favor of United States of America;

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 1          B.       That this Court determine and adjudge that defendant Walter James Kubon, aka Walter

 2 James Kubon Jr., is personally liable to the United States of America for the sum of $390,110.99, plus

 3 interest, and statutory additions, as provided by law, that have accrued, and continue to accrue, from

 4 December 1, 2017, until fully paid; that a judgment in that amount, plus interest and statutory additions,

 5 be entered against defendant Walter James Kubon, aka Walter James Kubon Jr., in favor of United

 6 States of America;

 7          C.       That this Court determine and adjudge that defendant Vally Kubon is personally liable to

 8 the United States of America for the sum of $367,668.60, plus interest, and statutory additions, as

 9 provided by law, that have accrued, and continue to accrue, from December 1, 2017, until fully paid;
10 that a judgment in that amount, plus interest and statutory additions, be entered against defendant Vally

11 Kubon in favor of United States of America;

12          D.       The Court determine and adjudge that Plaintiff, United States of America, has liens for

13 the unpaid federal income taxes of defendants, Walter James Kubon aka Walter James Kubon Jr., and

14 Vally Kubon, which encumber and attach to the subject property described in paragraph 8;

15          E.       That the tax liens and judgment lien of the United States of America be foreclosed and

16 that this Court order the sale of the subject property described in paragraph 8;

17          F.       That the proceeds from the sale of the subject property be distributed according to the

18 lien priorities of the parties as determined by the Court;

19          G.       That, Plaintiff, United States of America, be granted its costs of suit and attorneys’ fees.

20          H.       For such other and further relief as is just and proper.

21                                                  Respectfully submitted,

22                                                  ALEX G. TSE
                                                    United States Attorney
23
                                                    _________/s/________________
24
                                                    CYNTHIA STIER
25                                                  Assistant United States Attorney
                                                    Tax Division
26

27

28

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 1                                            CERTIFICATE OF SERVICE

 2            I, KATHY TAT declare:

 3            That I am a citizen of the United States of America and employed in San Francisco County,

 4 California; that my business address is Office of United States Attorney, 450 Golden Gate Avenue, Box

 5 36055, San Francisco, California 94102; that I am over the age of eighteen years, and am not a party to the

 6 above-entitled action.

 7            I am employed by the United States Attorney for the Northern District of California and discretion to

 8 be competent to serve papers. The undersigned further certifies that I caused a copy of the following:

 9                                             AMENDED COMPLAINT

10 to be served this date upon the party(ies) in this action by placing a true copy thereof in a sealed envelope,

11 and served as follows:

12 _X___ FIRST CLASS MAIL by placing such envelope(s) with postage thereon fully prepaid in the

13 designated area for outgoing U.S. mail in accordance with this office=s practice.

14 ____ PERSONAL SERVICE (BY MESSENGER/HAND DELIVERED)

15 _____ SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

16 ____ FACSIMILE (FAX) No.:

17 to the parties addressed as follows:

18
   Vally Kubon
19 560 Hobie Lane
   San Jose, CA 95127
20

21 Walter James Kubon aka Walter James Kubon, Jr.
   560 Hobie Lane
22 San Jose, CA 95127

23            I declare under penalty of perjury under the laws of the United States that the foregoing is true and
24 correct.

25            Executed on 1/31/19 at San Francisco, California.
26                                                    ______/S/_________
                                                      KATHY TAT
27                                                    Legal Assistant
28

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